                                                      CRIMINAL COVER SHEET
                                                   MIDDLE DISTRICT OF TENNESSEE
                                                       NASHVILLE      DIVISION

Indictment        ( )
Complaint         (x)                                                    County of Offense:            Davidson
Information       ( )                                                    AUSA’s NAME:                  Monica R. Morrison
Misdemeanor       ( )
Felony            (x)                                                    Reviewed by AUSA:           MRM
Juvenile          ( )                                                                                (Initials)

Austin KIDD
Defendant’s Full Name

unknown                                                                  Interpreter Needed?         ___ Yes          x    No
Defendant’s Address
                                                                         If Yes, what language?
Unknown
Defendant’s Attorney


 COUNTS             TITLE/SECTION                       OFFENSE CHARGED                        MAX. PRISON (plus any                MAX.
                                                                                                mandatory minimums)                 FINE

 1             18 U.S.C. § 2252A(a)(5)(B)       Possession of Child Pornography            First Offense: up to 20 years          $250,000
                                                                                           Second Offense: 10 – 20 years

                                                Forfeiture
*Pursuant to 18 U.S.C. §3014, the defendant may be subject to an additional $5000 special assessment.

Is the defendant currently in custody?         () Yes   (x) No                                       If Yes, State or Federal?
                                                                                                     Writ requested ( )
Has a complaint been filed?                ( ) Yes (x) No
    If Yes: Name of Magistrate Judge                                                                 Case No.:
            Was the defendant arrested on the complaint?  ( ) Yes ( ) No

Has a search warrant been issued?              (x) Yes ( ) No
    If Yes: Name of Magistrate Judge           Frensley                                                   Case No.: 20-mj-2616

Was bond set by Magistrate/District Judge: ( ) Yes ( ) No (x) Not Applicable                         Amount of bond:

Is this a Rule 20? ( ) Yes (x) No          To/from what district?
Is this a Rule 40? ( ) Yes (x) No          To/from what district?

Is this case related to a pending or previously filed case? ( ) Yes      (x) No
     What is the related case number?
     Who is the Magistrate Judge?

Estimated trial time:           1-2 days

The Clerk will issue a        Warrant              (Note: if information, request for a warrant requires presentment of a sworn affidavit of
probable cause to a judicial officer, who will determine whether to issue a warrant)

Detention requested: Yes (x) No ( ) Recommended conditions of release:




                                                                                                                       (Revised January 2019)




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